        Case 1:18-cv-12470-WGY Document 13 Filed 01/08/19 Page 1 of 1



                         UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS


Amanda Reid

                    Plaintiff
                                                    CIVIL ACTION
            V.
Santander Consumer USA Inc.                         NO. 18cv12470-WGY

                    Defendant


                                ORDER OF DISMISSAL


YOUNG DJ,


      In accordance with the Court's allowance of the defendant's motion to dismiss on

January 8, 2019, it is hereby ORDERED that the above-entitled action be and hereby is

dismissed without prejudice.


                                                    By the Court,

January 8, 2019                                     /s/Matthew A. Paine

      Date                                          Deputy Clerk
